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lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

 

 

C. TATE GEORGE, HONORABLE ANNE E. THOMPSON
Petitioner,
Civil Action
v. No. 19-9246 (AET)
UNITED STATES OF AMERICA,
OPINION
Respondent.
THOMPSON, District Judge:
l. On December 21, 2018, Petitioner C. George Tate filed a petition for writ of

habeas corpus under 28 U.S.C. § 2241 in the United States District Court for the Middle District
of Pennsylvania. George v. United State.s' of America, No. lS-cv-2412 (M.D. Pa. Dec. 21, 2018).
(ECF No. 1).

2. The petition challenged his judgment of conviction issued in the District of New
Jersey, United Sm!es of America v. George, No. lZ-cr-204 (D.N.J. .lan. 21, 2016). He argued the
methodology used at sentencing caused him to be sentenced outside of the correct guidelines; the
Government’s post-trial admissions “created an illegal enhancement by the Court at sentencing”;
“no fact finding required by the Government for sentencing that led to multiple errors leaving
Petitioner to be illegally sentenced above the appropriate Guideline-Range”; and the “Court
committed harmful error(s) by miscalculating Petitioner’s Sentencing Guideline Range.” (ECF

No. l at 7-8).

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3. On April 2, 2019, the district court adopted the report and recommendation of the
magistrate judge over Petitioner’s objections and transferred the petition to this Court for
consideration (ECF No. 7).

4. Section 2241 “confers habeas jurisdiction to hear the petition of a federal prisoner
Who is challenging not the validity but the execution of his sentence.” Coady v. Vauglm, 251
F.3d 480, 485 (3d Cir. 2001). Generally, a challenge to the validity of a federal conviction or
sentence must be brought under 28 U.S.C. § 2255. See Jacknmn v. Slmr!le, 535 F. App’x 87, 88
(3d Cir. 2013) (per curiam) (citing Okereke v. United Smtes, 307 F.3d 117, 120 (3d Cir. 2002)).
“[Section] 2255 expressly prohibits a district court from considering a challenge to a prisoner's
federal sentence under § 2241 unless the remedy under § 2255 is ‘inadequate or ineffective to
test the legality of his detention.”’ Snyder v. Di.r, 588 F. App’x 205, 206 (3d Cir. 2015) (quoting
28 U.S.C. § 2255(€)); see also In re Dorsainvil, l 19 F.3d 245, 249 (3d Cir. 1997).

5. Petitioner’s motion to correct, vacate, or set aside his federal sentence under 28
U.S.C. § 2255 is presently pending before the Court. George v. United States, No. l7-cv-2641
(D.N.J. filed April 18, 2017). As noted by the Middle District of Pennsylvania district court, the
claims raised in the § 2241 petition are more appropriately considered under § 2255.'

6. The Court will instruct the Clerk’s Office to file the petition (ECF No. l) in 17-
cv~2641 as a motion to amend the current § 2255 motion. The United States will be instructed to

respond to the motion. This action will be closed.

 

7. An accompanying Order will be entered. f
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U.S. District Judge

 

l The Court makes no determination at this time whether Petitioner’s claims are timely filed.

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